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                                                         U.S. Department of Justice

                                                         Channing D. Phillips
                                                         Acting United States Attorney

                                                         District of Columbia


                                                         Judiciary Center
                                                         555 Fourth St., N.W.
                                                         Washington, D.C. 20530


                                                       June 1, 2021

Via Email
Eugene Ohm
Office of the Federal Public Defender for the District of Columbia
Eugene_Ohm@fd.org

Counsel for Anthony Bailey

       Re:      United States v. Anthony Nico Bailey
                Case No. 1:21-cr-00335-BAH

Dear Counsel:

       Enclosed as preliminary discovery in this case, via filesharing, are the following
materials:

             1. Indictment (also emailed on 5/10/2021)
             2. Signed Redacted and Unredacted Complaints (also emailed on 5/10/2021)
             3. Statement of Facts supporting Complaint (also emailed on 5/10/2021)
             4. Arrest Warrant (also emailed on 5/10/2021)
             5. MPD arrest packet
             6. MPD internal packet
             7. Residential search warrant return and 21 photos
             8. Criminal history report
             9. PD47 Warning of rights form
             10. Defendant’s prior conviction
             11. Gun Recovery Unit PD256
             12. MPD Gerstein
             13. eAgent report on gun registration
             14. DEA7 regarding drug property collected
             15. MPD PD81s for property recovered (x5)
             16. Property logs and associated papers (6 pages)
             17. Radio runs (4 files)
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       The discovery is unencrypted. Please contact me if you have any issues accessing the
information, and to confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

         I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S.
83 (1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes
to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.

        I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal
Rules of Criminal Procedure, including results or reports of any physical or mental examinations,
or scientific tests or experiments, and any expert witness summaries. I also request that
defendant(s) disclose prior statements of any witnesses defendant(s) intends to call to testify at
any hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I
request that such material be provided on the same basis upon which the government will
provide defendant(s) with materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant(s) provide the government with the appropriate written notice if
defendant(s) plans to use one of the defenses referenced in those rules. Please provide any notice
within the time period required by the Rules or allowed by the Court for the filing of any pretrial
motions.

       I will forward additional discovery as it becomes available. If you have any questions,
including specific requests, please feel free to contact me.

                                                     Sincerely,



                                                     _______________________
                                                     Candice C. Wong
                                                     Assistant United States Attorney
                                                     202-252-7849
                                                     Candice.wong@usdoj.gov




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